
209 P.3d 380 (2009)
228 Or. App. 738
STATE of Oregon, Plaintiff-Respondent,
v.
Andrew Frederic PULCIPHER, Defendant-Appellant.
C020754CR, C020987CR, C013620CR; A118944 (Control) A120457, A120070.
Court of Appeals of Oregon.
On Appellant's Petition for Reconsideration April 15, 2009.
Decided May 27, 2009.
Peter Gartlan, Chief Defender, and Rebecca Duncan, Assistant Chief Defender, Office of Public Defense Services, for petition.
Before LANDAU, Presiding Judge, and BREWER, Chief Judge, and HASELTON, Judge.
PER CURIAM.
Defendant petitions for reconsideration of our opinion in State v. Pulcipher, 227 Or.App. 9, 204 P.3d 852 (2009), on the basis that we erred in describing his sentence on Count 9 of the indictment as a "consecutive 12-month departure sentence." Id. at 11, 204 P.3d 852. In reviewing the record, we agree with defendant. The sentence imposed on Count 9 of the indictment was a consecutive 12-month sentence, not a "consecutive departure sentence." Our erroneous description of defendant's sentence on Count 9 had no effect on our analysis in the remainder of the opinion. Accordingly, we adhere to our opinion as modified to correct the description of defendant's sentence on Count 9.
Reconsideration allowed; former opinion modified and adhered to as modified.
